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HENRY TUCKER, ON BEHALF OF HIMSELF
AND ALL OTHER PERSONS SIMILARLY
SITUATED,
                                                  Civil Action No. 1:23-cv-9896




AGCO CORPORATION,




                         AGCO CORPORATION
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     11/13/2023                                                          /S/ V. BRAHIMI
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